Case No. 1:17-cr-00168-CMA      Document 84      filed 01/16/19   USDC Colorado        pg 1
                                        of 5




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Action No. 17-cr-00168-CMA

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1.    KAREN LYNN MCCLAFLIN,

           Defendant,
_____________________________________________________________________

 GOVERNMENT’S BRIEF REGARDING WHETHER THE COURT HAS AUTHORITY
               TO STAY THE DEFENANT’S SURRENDER DATE
_____________________________________________________________________

      THE UNITED STATES OF AMERICA, through Assistant United States Attorney

Pegeen D. Rhyne, hereby submits the Government’s Brief Regarding Whether the

Court has Authority to Stay the Defendant’s Surrender Date.

      On May 17, 2017, Ms. McClaflin was charged by Information with one count of

wire fraud, in violation of 18 U.S.C. § 1343, and one count of money laundering, in

violation of 18 U.S.C. § 1957. [Doc. # 1]. On June 21, 2017, she pled guilty to both

counts. [Doc. # 11]. On May 10, 2018, Ms. McClaflin was sentenced to 96 months of

imprisonment. [Doc. # 40 at pg. 2]. On May 17, 2018, Ms. McClaflin filed a Notice of

Appeal. [Doc. # 42]. Ms. McClaflin did not file a motion for bail pending appeal

pursuant to 18 U.S.C. § 3143(b)(1).

      Ms. McClaflin was initially ordered to self-surrender on June 19, 2018, to the

Federal Correctional Institution Satellite Camp, Phoenix, Arizona. [Doc. # 48]. On

June 14, 2018, Ms. McCaflin filed a motion to stay her surrender date based on medical
Case No. 1:17-cr-00168-CMA       Document 84       filed 01/16/19   USDC Colorado       pg 2
                                         of 5




issues, which were described in detail in the motion and will not be repeated here.

[Doc. # 53]. On June 14, 2018, the Court granted Ms. McClaflin’s motion and ordered

that she self-surrender by October 17, 2018. [Doc. # 56]. The Court stated that no

further stays would be granted absent an emergency. [Id.]. On October 17, 2018, Ms.

McClaflin filed her second motion to stay her surrender date based on her ongoing

medical issues. [Doc. # 65]. The Court expressed concerns about whether it had

jurisdiction in this matter, but it granted the motion due to the seriousness of the issues

raised by Ms. McClaflin. [Doc. # 66]. The Court also set a hearing so that it could

hear testimony about Ms. McClaflin’s health. [Id.]. Ultimately, that hearing took place

on January 14, 2019.

       At the January 14, 2019, hearing, the Court renewed its concern that it had no

authority to grant Ms. McClaflin’s request to stay her surrender date based on her

ongoing medical issues. The Court cited United States v. Connelly, 2018 WL 6309052

(D. Conn. 2018) and United States v. Bolton, 2017 WL 1652588 (S.D. Miss. 2017) as

suggesting that the Court had no such authority. The Court directed the parties to

research the issue of whether the Court has authority to grant the requested stay and to

file briefs on this issue by noon on Wednesday, January 16, 2019.

       Based on its research, the government does not believe that the Court has the

authority to grant a stay of a defendant’s surrender date based on medical issues.

Whether a convicted person can remain on bail pending their appeal is governed by

The Bail Reform Act, specifically 18 U.S.C. § 3143(b). 18 U.S.C. § 3143(b); see also

Connelly, 2018 WL 6309052, *1; Bolton, 2017 WL 1652588, *5. Under this statute, a

convicted person who was sentenced to imprisonment and who filed an appeal “shall”
                                             2
Case No. 1:17-cr-00168-CMA         Document 84       filed 01/16/19    USDC Colorado          pg 3
                                           of 5




be detained unless the judicial officer finds that (a) the person is not a flight risk or a

danger to the community and (b) the person’s appeal is not for purposes of delay and

raises a substantial question of law or fact likely to result in reversal, a new trial, a

sentence that does not include a term of imprisonment, or a reduced sentence for a

term of less time than the duration of the appeal process. 18 U.S.C. § 3143(b)(1). A

“substantial question” of law or fact is “one of more substance than would be necessary

to a finding that it was not frivolous.” United States v. Farr, 457 Fed.Appx. 757, 758

(10th Cir. 2012) (unpublished), citing United States v. Affleck, 765 F.2d 944, 952 (10th

Cir. 1985) (en banc). It is “a close question or one that very well could be decided the

other way.” Id. This statute places the burden of proof on the defendant. Affleck,

765 F.2d at 960. Ms. McClaflin has made no attempt to meet her burden under this

statute. Instead, she asks the Court to stay her surrender date based only on her

medical issues.

       The government has been unable to find any other source of authority pursuant

to which a district court can allow a convicted person who has been sentenced to

imprisonment to remain out of custody while her appeal is pending. As the Court noted

at the January 14, 2019, hearing, both the Connelly and Bolton cases dealt with

requests to stay surrender dates based on a defendant’s medical issues. See Connelly,

2018 WL 6309052, *3; Bolton, 2017 WL 1652588, *5. In both cases, the district courts

determined that they had no authority to grant the requested relief. Id. Likewise, in an

unpublished order, the Tenth Circuit recently denied a request for bail pending appeal

that was largely based on the defendant’s significant health issues because the

defendant failed to identify the requisite “substantial question of fact or law” that would
                                               3
Case No. 1:17-cr-00168-CMA       Document 84     filed 01/16/19   USDC Colorado          pg 4
                                         of 5




be raised on appeal. [See Order in United States v. Coddington, 18-1470 (10th Cir.

2019), attached here to as Exhibit 1]. The Tenth Circuit stated, “While we are

sympathetic to [the defendant’s] health issues, he has failed to meet the standard for

release pending appeal in § 3143(b)(1)(B).” [Id. at pg. 2]. It appears that Ms.

McClaflin is in the same situation.

       Notwithstanding the government’s position above, the government informs the

Court that the Bureau of Prisons would prefer some additional time to facilitate the

smooth transition of Ms. McClaflin’s medical care. The Bureau of Prisons is doing its

best to be prepared for Ms. McClaflin’s surrender on Friday, January 18, 2019.

However, it has not yet received Ms. McClaflin’s current medical records. I understand

that defense counsel is working on that. Additionally, undersigned counsel has been

informed that a physician at FMC Carsell has spoken to Dr. Brookmeyer and was

attempting to reach Dr. Miner.

       Respectfully submitted this 16th day of January, 2019.

                                                JASON R. DUNN
                                                United States Attorney

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                                            4
Case No. 1:17-cr-00168-CMA      Document 84      filed 01/16/19   USDC Colorado       pg 5
                                        of 5




                              CERTIFICATE OF SERVICE

        I hereby certify that on January 16, 2019, I electronically filed the foregoing
GOVERNMENT’S BRIEF REGARDING WHETHER THE COURT HAS AUTHORITY
TO STAY THE DEFENANT’S SURRENDER DATE using the CM/ECF system, which
will send notifications of such filing to all participants in this matter.



                                                s/ Dee Boucher
                                                United States Attorney’s Office




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